     Case 1:11-cv-04409-WSD Document 33 Filed 06/01/16 Page 1 of 4




           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

IN RE: WRIGHT MEDICAL                     MDL DOCKET NO. 2329
TECHNOLOGY INC., CONSERVE
HIP IMPLANT PRODUCTS                      This Document Relates to:
LIABILITY LITIGATION                      ROBYN CHRISTIANSEN
                                          1:13-cv-297-WSD



JIMMIE LEE BAKER AND MARY
BAKER,
                     Plaintiffs,    1:12-cv-00598-WSD
    v.
WRIGHT MEDICAL
TECHNOLOGY
INCORPORATED, et al.,
                     Defendants.

CHERI DEES AND JACE DEES,
                     Plaintiffs,
    v.
                                     1:11-cv-04415-WSD
WRIGHT MEDICAL
TECHNOLOGY
INCORPORATED, et al.,
                     Defendants.
     Case 1:11-cv-04409-WSD Document 33 Filed 06/01/16 Page 2 of 4




DEBRA KORSZENIEWSKI,
                     Plaintiff,
    v.
                                       1:12-cv-00766-WSD
WRIGHT MEDICAL
TECHNOLOGY
INCORPORATED, et al.,
                     Defendants.
DAVID F. PIPER AND CHRISTINE
PIPER,
                     Plaintiffs,
    v.                                 1:11-cv-04409-WSD
WRIGHT MEDICAL
TECHNOLOGY
INCORPORATED, et al.,
                     Defendants.
ERIC B. SNITKOFF,
                     Plaintiff,
    v.
                                       1:12-cv-00612-WSD
WRIGHT MEDICAL
TECHNOLOGY
INCORPORATED, et al.,
                     Defendants.




                                   2
     Case 1:11-cv-04409-WSD Document 33 Filed 06/01/16 Page 3 of 4




LEAH ELSHAUG AND ESHANE
ELSHAUG,
                     Plaintiffs,
    v.                                 1:13-cv-00164-WSD

WRIGHT MEDICAL
TECHNOLOGY
INCORPORATED, et al.,
                     Defendants.


BETTY L. HALL,
                     Plaintiff,
    v.
                                       1:13-cv-00165-WSD
WRIGHT MEDICAL
TECHNOLOGY
INCORPORATED, et al.,
                     Defendants.


EARL DOUGLAS SKAGGS,
                     Plaintiff,
    v.                                 1:12-cv-04374-WSD
WRIGHT MEDICAL
TECHNOLOGY
INCORPORATED, et al.,
                     Defendants.




                                   3
       Case 1:11-cv-04409-WSD Document 33 Filed 06/01/16 Page 4 of 4




                                     ORDER
      This matter is before the Court on Attorney George W. Walker, III’s Motion

to Withdraw [1523] as counsel of record for Plaintiffs in these cases, and the MDL.

Mr. Walker is no longer counsel at Pope, McGlamry, Kilpatrick, Morrison &

Norwood, P.C. firm.

      Accordingly,

      IT IS HEREBY ORDERED that Mr. Walker’s Motion to Withdraw is

GRANTED. Plaintiffs will continue to be represented by Pope, McGlamry,

Morrison & Norwood, P.C.



      SO ORDERED this 31st day of May, 2016.




                                        4
